











Opinion issued December 31, 2008
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;














In The
Court of Appeals
For The
First District of Texas




NO. 01-08-00912-CV




IN RE SANJAY SHAH, Relator




Original Proceeding On Petition For Writ Of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Sanjay Shah, seeks relief compelling
the trial court to disqualify counsel for Agar Corporation, Inc. from the underlying
suit.       
We deny the petition for writ of mandamus. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Justices Jennings, Hanks, and Bland.  


